Case 21-22520-CMB                    Doc 71         Filed 01/13/22 Entered 01/13/22 15:51:09                                     Desc Main
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(12/15)




                              IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE:                                                               :
                                                                     :
GW Ridge LLC                                                         :
                                                                     :               Case No. 21-22520-CMB
                      Debtor(s)*                                     :
                                                                     :
                                                                     :
                                                                     :



                 NOTICE TO CREDITORS AND OTHER PARTIES IN INTEREST


       Notice is given that the proof of claim date of January 31, 2022 was erroneously set
in the Meeting of Creditors Notice. Please note that the correct Proof of Claim Deadline
is February 22, 2022.
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                                                                         Michael R. Rhodes, Clerk
                                                                         U.S. Bankruptcy Court



January 13, 2022                                                           By:                     /s/ Dmitriy Kampov
                                                                                                       Deputy Clerk




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*Set forth all names, including trade names, used by the debtor within the last 8 years (Bankruptcy Rule 1005). For joint debtors, set forth both
Social Security Numbers.
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